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     5   Attorneys for Plaintiff REKO HOLDINGS,
         LLC
     6

     7

     8                         UNITED STATES DISTRICT COURT
     9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
    10
         REKO HOLDINGS, LLC;                          Case No.: 2:18-cv-07401-GW-FFM
    11
                           Plaintiff,
    12
                v.
    13

    14   AMP GROUP HOLDINGS, INC. a UNILATERAL STATUS REPORT
         Delaware      Corporation;      PAUL
    15   KOZLOV; GSS GROUP LLC, a
         California limited liability company;
    16   SAPA GROUP, LLC, a California
         limited liability company; GARY
    17   SHIRINYAN; ILEVGENIA SAPA Date: May 6, 2019
         aka     EVGENIA         SAPA      aka Time: 8:30 a.m.
    18   LEVGENIA SALA; VLADIMIR
         HANIN, HJK TRADE, INC. a Place: 350 West 1st Street
    19   California Corporation; HOVIK               Courtroom 9D, 9th Floor
         KOSTANDYAN; CITIBANK, N.A.;                 Los Angeles, CA, 90012
    20   JPMORGAN CHASE BANK, N.A.;
         WELLS FARGO BANK, N.A.;
    21   GALINA VAYNTER; VADIM
         VAYNTER           aka         AVADY
    22   VAYNTER;          GV         GLOBAL
         COMMUNICATIONS, INC., a
    23   California corporation; DIRECT
         COMMUNICATIONS, INC., a
    24   California corporation; REGINA
         KATS; ARTHUR KATS; LEGACY
    25   RESOURCES GROUP, INC., an
         unknown business entity; YITZHAK
    26   KLEYMAN, and DOES 1 through
         100, inclusive,
    27                    Defendants.
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                                            JOINT STATUS REPORT
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         PAUL KOZLOV, an individual;
     3   AMP GROUP HOLDINGS, INC., a
     4   Delaware Corporation; GSS GROUP,
         INC., a California Corporation;
     5   SAPA GROUP, LLC, a California
     6   Limited Liability Company; GARY
         SHIRINYAN,        an    individual;
     7   IEVGENIIA SAPA, an individual;
     8   VLADIMIR HANIN, an individual;
         HJK TRADE, INC., a California
     9   Corporation;      and      HOVIK
    10   KOSTANDYAN, an individual.
    11                Cross-Complainants
    12
               v.
    13

    14   REKO HOLDINGS, LLC, a Nevada
         Limited     Liability   Company;
    15   GOPHER PROTOCOL, INC., a
    16   Nevada     Corporation;  GALINA
         VAYNTER, an individual; VADIM
    17   VAYNTER          aka     AVADY
    18   VAYNTER, an individual; REGINA
         KATS, an individual; ARTHUR
    19   KATS, an individual; GV GLOBAL
    20   COMMUNICATIONS,         INC.    a
         Suspended California Corporation;
    21   DIRECT       COMMUNICATIONS,
    22   INC., a California Corporation;
         LEGACY RESOURCES, form of
    23
         entity unknown, and ROES 1-100,
    24   Inclusive.
    25
                      Cross-Defendants
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                                            JOINT STATUS REPORT
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     1         TO THIS HONORABLE COURT:
     2         Pursuant to the Order issued by the Court on March 7, 2019 (Dkt #99), as
     3   amended by the “text only” entry in chambers, marked as Dkt #101, Plaintiff and
     4   Cross-Defendant REKO HOLDINGS, LLC (“REKO”) respectfully submits the
     5   following Unilateral Status Report after first submitting a similar Joint Status
     6   Report to all other parties:
     7          A.    STATUS OF PRELIMINARY SETTLEMENT DISCUSSIONS
     8          REKO, GOPHER, and Defendants AMP GROUP HOLDINGS, INC.
     9   (“AMP”), PAUL KOZLOV (“KOZLOV”), GSS GROUP, LLC (“GSS
    10   GROUP”), SAPA GROUP, LLC (“SAPA GROUP”), GARY SHIRINYAN
    11   (“SHIRINYAN”), IIEVGENIA SAPA (“SAPA”), VLADIMIR HANIN
    12   (“HANIN”), HJK TRADE, INC. (“HJK”), HOVIK KOSTANDYAN
    13   (“KOSTANDYAN”) (AMP, KOZLOV, GSS GROUP, SAPA GROUP,
    14   SHIRINYAN, SAPA, HANIN, HJK, and KOSTANDYAN (the “SHIRINYAN
    15   DEFENDANTS”) have engaged in significant settlement discussions and
    16   currently have an agreement of settlement that is signed by all relevant parties.
    17   The parties are now delivering documents to each other such that the transfers
    18   called for in the settlement can occur.
    19          As to any settlement related discussions with CITIBANK N.A. (“CITI”),
    20   JPMORGAN CHASE BANK, N.A. (“CHASE”), and WELLS FARGO BANK,
    21   N.A. (“WELLS FARGO”) (CITI, CHASE, and WELLS FARGO are herein after
    22   referred to collectively as the “FINANCIAL DEFENDANTS”) REKO has
    23   engaged in substantive discussions on multiple occasions with certain defendants
    24   seeking to settle the claims and defenses in this instant Action. Said parties are
    25   willing to resolve the matter and will consider participating in an early, supervised
    26   mediation conference; however, no date or agreed upon mediator has been
    27   selected by the parties.
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                                            JOINT STATUS REPORT
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     1         B.     CURRENT MOTIONS FOR DEFAULT
     2          Plaintiff Reko Holdings, LLC’s (“REKO” or “Plaintiff”) Motion for Entry
     3   of Default Judgment (“Motion”) against Defendants GALINA VAYNTER
     4   (“Galina”); VADIM VAYNTER aka AVADY VAYNTER (“Vadim”); GV
     5   GLOBAL COMMUNICATIONS, INC. (“GV”); DIRECT
     6   COMMUNICATIONS, INC. (“DCI”); REGINA KATS (“REGINA”); ARTHUR
     7   KATS (“Arthur”); and LEGACY RESOURCES GROUP, INC. (“Legacy”)
     8   (together, the “DEFAULTED DEFENDANTS”) has been continued to May 6,
     9   2019 at 8:30 a.m. before this Court. (Dkt #97, 98 as amended by the “text only”
    10   entry in chambers, marked as Dkt #100).
    11          The DEFAULTED DEFENDANTS have not filed any responsive
    12   pleadings in this case; nor have they, their attorneys, or even their possible or
    13   future attorneys contacted either the Plaintiff or their counsel regarding this case
    14   or the Motion.
    15          C.    FINANCIAL DEFENDANTS
    16         The FINANCIAL DEFENDANTS filed individual Motions to Dismiss
    17   Plaintiff’s Second Amended Complaint, which have been granted subject to
    18   Plaintiff’s right to amend. The Court has not yet set a deadline date for the filing
    19   of such amendment.
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     1         D.     ADDITIONAL MATTERS
     2         There are no further matters to be brought to the attention of the Court at
     3   this time.
     4

     5
          Dated: April 29, 2019                  LAW OFFICES OR ROBERT M. YASPAN

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     7                                           By /s/ Robert M. Yaspan
                                                 ROBERT M. YASPAN
     8                                           Attorneys for Plaintiff Reko Holdings, LLC
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                                            JOINT STATUS REPORT
